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 1   ROBERTS. BREWER, JR.
     United States Attorney
 2   OWEN ROTH
     Assistant U.S. Attorney
 3   New York State Bar No. 4833166
     United States Attorney's Office
 4   880 Front Street, Room 6293
     San Diego, California 92101-8893
 5   Telephone: (619) 546-7710

 6 Attorneys for Plaintiff
   UNITED STATES OF AMERICA
 7

 8                              UNITED STATES DISTRICT COURT

 9                          SOUTHERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                         Case No. 20-CR-610 BAS

11                              Plaintiff,

12         v.                                          PLEA AGREEMENT

13   RICARDO BAEZ-DAVILA,
14                              Defendant.

15
16        IT IS HEREBY AGREED between plaintiff, UNITED STATES OF AMERICA,

17   through its counsel, Robert S. Brewer, Jr., United States Attorney, and

18   Owen Roth,     Assistant     United States Attorney,         and Defendant,    RICARDO

19   BAEZ-DAVILA,    with   the    advice    and   consent   of   Joanna Martin,    Federal

20   Defenders of San Diego, Inc., counsel for Defendant, as follows:

21   II
22   II
23   II
24   II
25   II
26   II
27   II
28   OR:0211812021

                                                                    Def. Initials   [:15.
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 1                                               I

 2                                          THE PLEA

 3          A.     THE CHARGE

 4          Defendant agrees to plead guilty to Count One of the Superseding

 5   Information charging Defendant as follows:

 6          On or about January 24, 2020, within the Southern District of
            California and elsewhere, defendant, RICARDO BAEZ-DAVILA, did
 7          knowingly   and intentionally possess methamphetamine,      a
            Schedule II Controlled Substance,    that was not obtained
 8          directly, or pursuant to a valid prescription or order, from
            a practitioner acting in the course of the practitioner's
 9          professional practice, or in a manner otherwise authorized by
            law; in violation of Title 21, United States Code, Section
10          844.
11   In    exchange,    the    Government   agrees         (1)     to   dismiss     the   underlying

12   Information against Defendant when Defendant is sentenced,                           and   (2)   to

13   not   prosecute     Defendant    thereafter      on     such       dismissed    charge     unless

14   Defendant breaches the plea agreement or the guilty plea entered pursuant

15   to this plea agreement is set aside for any reason. If Defendant breaches

16   this agreement or the guilty plea is set aside, section XII below shall

17   apply.

18          B.     FORFEITURE

19          Defendant agrees to the administrative and/or civil forfeiture of

20   all properties seized in connection with this case which Defendant agrees

21   are    subject     to     forfeiture   to       the         United    States     pursuant        to

22   21 U.S.C.      § 881.    Defendant further waives his right to receive timely

23   notice of administrative forfeiture as set forth in 18 U.S.C. § 983(a)

24   and waives receipt of all notice of forfeiture                       in this and all other

25   administrative and civil proceedings.                  Defendant waives and disclaims

26   his interest,      if any,    in the properties to be forfeited as described

27   above.      Defendant further agrees not to contest or to assist any other

28

                                                 2
                                                                                    19CR®=
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 1   person or entity in contesting the forfeiture of the property seized in

 2   connection with this case.

 3                                            II

 4                                 NATURE OF THE OFFENSE

 5        A.     ELEMENTS EXPLAINED
 6        The offense to which Defendant is pleading guilty has the following

 7   elements:

 8               1.      Defendant possessed methamphetamine; and

 9               2.      Defendant did so knowingly and intentionally.

10        B.     ELEMENTS UNDERSTOOD AND ADMITTED - FACTUAL BASIS

11        Defendant has fully discussed the facts of this case with defense

12   counsel.    Defendant has committed each element of the crime and admits

13   that there is a factual basis for this guilty plea. The following facts

14   are true and undisputed:

15        1.     At about 1:40 a.m. on January 24, 2020, Defendant entered the

16   United States by driving a grey 2019 Genesis G70 into the San Ysidro,

17   California Port of Entry. Defendant was the driver and sole occupant of

18   the car.

19        2.     In an inspection of the Genesis G70,           CBP Officers found 67

20   packages with a gross weight of 34.66 kilograms.

21        3.     At the time Defendant entered the United States, he knew that

22   he was in possession of the methamphetamine.

23                                            III

24                                        PENALTIES

25        The    crime    to   which   Defendant    is   pleading   guilty   carries   the

26   following penalties:

27        A.     A maximum term of 1 year in prison;

28        B.     A minimum $1,000.00 fine;

                                               3                Def. Initials   cb:-
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          C.     A mandatory special assessment of $25.00 per count; and
 1
           D.    A maximum 1-year term of supervised release. Defendant
 2               understands that failure to comply with any of the conditions
                 of supervised release may result in revocation of supervised
 3               release, requiring defendant to serve in prison, upon any such
                 revocation, all or part of the statutory maximum term of
 4               supervised release for the offense that resulted in such term
                 of supervised release.
 5
          E.     Possible ineligibility for certain federal benefits.
 6
                                              IV
 7
                           DEFENDANT'S WAIVER OF TRIAL RIGHTS
 8                         AND UNDERSTANDING OF CONSEQUENCES
 9        This guilty plea waives Defendant's right at trial to:
10        A.     Continue to plead not guilty and require the Government to
                 prove the elements of the crime beyond a reasonable doubt;
11
          B.     A speedy and public trial by jury;
12
          C.     The assistance of counsel at all stages of trial;
13
          D.     Confront and cross-examine adverse witnesses;
14
          E.     Testify and present evidence and to have witnesses testify on
15               behalf of defendant; and
16        E.     Not testify or have any adverse inferences drawn from the
                 failure to testify.
17
                                              V
18
                  DEFENDANT ACKNOWLEDGES NO PRETRIAL RIGHT TO BE
19        PROVIDED WITH IMPEACHMENT AND AFFIRMATIVE DEFENSE INFORMATION
20        Any information establishing the factual innocence of Defendant
21   known to the undersigned prosecutor in this case has been turned over
22   to Defendant. The Government will continue to provide such information
23   establishing the factual innocence of Defendant.

24        If this case proceeded to trial, the Government would be required
25   to provide impeachment information for its witnesses. In addition, if
26   Defendant    raised   an   affirmative   defense,   the    Government    would   be

27   required to provide information in its possession that supports such a
28   defense.    By pleading guilty,     Defendant will        not   be   provided this

                                              4                Def. Initials cf-gs"
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 1   information, if any, and Defendant waives any right to this information.

 2   Defendant          will    not   attempt     to    withdraw       the        guilty    plea   or   file    a

 3   collateral attack on the existence of this information.

 4                                                           VI

 5                              DEFENDANT'S REPRESENTATION THAT GUILTY
                                    PLEA IS KNOWING AND VOLUNTARY
 6

 7           Defendant represents that:

 8           A.     Defendant has had a full opportunity to discuss all the facts
                    and circumstances of this case with defense counsel and has a
 9                  clear understanding of the charges and the consequences of
                    this plea. By pleading guilty, defendant may be giving up, and
10                  rendered ineligible to receive, valuable government benefits
                    and ci vie rights, such as the right to vote, the right to
11                  possess a firearm, the right to hold office, and the right to
                    serve on a jury. The conviction in this case may subject
12                  defendant to various collateral consequences, including but
                    not limited to revocation of probation, parole, or supervised
13                  release   in   another   case;   debarment   from   government
                    contracting; and suspension or revocation of a professional
14                  license, none of which can serve as grounds to withdraw
                    defendant's guilty plea;
15
             B.     No one has made any promises or offered any rewards in return
16                  for this guilty plea, other than those contained in this
                    agreement or otherwise disclosed to the court;
17
             C.     No one has threatened defendant                          or    Defendant's     family      to
18                  induce this guilty plea; and

19           F.     Defendant is pleading guilty because Defendant is guilty and
                    for no other reason.
20
                                                         VII
21
                          AGREEMENT LIMITED TO U.S. ATTORNEY'S OFFICE,
22                               SOUTHERN DISTRICT OF CALIFORNIA

23           This       plea    agreement    is      limited to       the     United States        Attorney's

24   Office       for    the    Southern District of California,                     and cannot bind any

25   other authorities in any type of matter,                          although the Government will

26   bring    this       plea    agreement      to     the       attention    of    other    authorities       if

27   requested by Defendant.

28   / /

                                                             5                     Def. Initials        ~
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      1                                         VIII

      2                       APPLICABILITY OF SENTENCING GUIDELINES

      3          The sentence imposed will be based on the factors         set forth in
      4   18 U.S.C.    §   3553(a).   In imposing the sentence,    the sentencing judge

      5   must consult the United States Sentencing Guidelines          (Guidelines)    and

      6   take     them into account.    Defendant has   discussed the Guidelines with

      7   defense counsel and understands that the Guidelines are only advisory,

      8   not mandatory. The Court may impose a sentence more severe or less severe

      9   than otherwise applicable under the Guidelines, up to the maximum in the

     10   statute of conviction. Defendant agrees to request that a presentence
OR
JM   11   investigation report be prepared. Nothing in this plea agreement limits

     12   the Government's duty to provide complete and accurate facts               to the

     13   district court and the U.S. Probation Office.

     14                                          IX

     15                     SENTENCE IS WITHIN SOLE DISCRETION OF JUDGE

     16          This plea agreement is made pursuant to Federal Rule of Criminal

     17   Procedure ll(c)(l)(B).        The sentence is within the sole discretion of

     18   the sentencing judge who may impose the maximum sentence provided by

     19   statute.     It is uncertain at this time what Defendant's sentence will

     20   be.    The Government has not made and will not make any representation

     21   as to what sentence Defendant will receive.      Any estimate of the probable

     22   sentence by defense counsel is not a promise and is not binding on the

     23   Court.     Any recommendation made by the Government at sentencing is also

     24   not binding on the Court.       If the sentencing judge does not follow any

     25   of the parties' sentencing recommendations, defendant will not withdraw

     26   the plea.

     27   //

     28   //

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 1                                                   X

 2                               PARTIES' SENTENCING RECOMMENDATIONS

 3        A.      SENTENCING GUIDELINE CALCULATIONS

 4        Although the Guidelines are only advisory and just one factor the

 5   Court will consider under 18 U.S.C.                 § 3553(a)    in imposing a sentence,

 6   the parties will            jointly recommend the       following Base Offense Level,

 7   Specific Offense Characteristics, Adjustments, and Departures:

 8                1.         Base Offense Level
                             [USSG § 2D2.1]                                                 8
 9
                  3.         Acceptance of Responsibility
10                           [USSG § 3El.1]                                                -2
11        B.      ACCEPTANCE OF RESPONSIBILITY

12        Despite paragraph A above,                the Government need not recommend an

13   adjustment        for   Acceptance    of   Responsibility       if   Defendant     engages    in

14   conduct inconsistent with acceptance of responsibility including,                            but

15   not limited to, the following:

16                1.         Fails to truthfully admit a complete factual basis as
                             stated in the plea at the time the plea is entered, or
17                           falsely denies, or makes a statement inconsistent with,
                             the factual basis set forth in this agreement;
18
                  2.         Falsely denies prior criminal conduct or convictions;
19
                  3.         Is untruthful with the Government, the Court or probation
20                           officer; or

21                4.         Breaches this plea agreement in any way.

22        C.      FURTHER ADJUSTMENTS AND SENTENCE REDUCTIONS
                  INCLUDING THOSE UNDER 18 U.S.C. § 3553
23

24        Defendant          may    not   request    or    recommend       additional     downward

25   adjustments,       departures,       or variances     from   the Sentencing Guidelines

26   under 18 U.S. C.        §   3553.

27   //

28   //

                                                     7                    Def. I n i t i a l s ~
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 1         D.      NO AGREEMENT AS TO CRIMINAL HISTORY CATEGORY
 2         The parties have no agreement as to Defendant's Criminal History
 3 Category,       except that,     if Defendant is determined to be a Career
 4 Offender,       the parties agree that the Defendant is automatically a
 5 Criminal History Category VI pursuant to USSG § 4B1.l(b).
 6         E.      "FACTUAL BASIS" AND "RELEVANT CONDUCT" INFORMATION
 7         The facts in the "factual basis" paragraph of this agreement are
 8   true and may be considered as "relevant conduct" under USSG § 1B1.3 and
 9 as      the      nature    and    circumstances    of    the    offense       under
10 18 U.S.C. § 3553(a) (1).
11         F.      RECOMMENDATION REGARDING DISPOSITION
12         The parties agree to jointly recommend that Defendant be sentenced

13 to two years of probation.
14         G.      SPECIAL ASSESSMENT
15         The parties will jointly recommend that Defendant pay a special
16   assessment in the amount of $25       per   count of conviction to be paid

17   forthwith at time of sentencing. The special assessment shall be paid
18   through the Office of the Clerk of the District Court by bank or

19   cashier's check or money order made payable to the "Clerk, United States
20   District Court."

21         H.      SUPERVISED RELEASE AND PROBATION

22              If the Court imposes a term of supervised release or a term of
23   probation, Defendant may not seek to reduce or terminate early the term

24   of supervised release or probation.

25   II
26   //

27   //

28   //

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 1                                                     XI

 2                        DEFENDANT WAIVES APPEAL AND COLLATERAL ATTACK

 3           Defendant waives (gives up) all rights to appeal and to collaterally

 4   attack every aspect of the conviction and sentence. This waiver includes,

 5   but is not limited to,                any argument that the statute of conviction or

 6   Defendant's prosecution is unconstitutional and any argument that the

 7   facts        of   this    case   do   not   constitute    the   crime   charged.    The    only

 8   exceptions are:            (i) Defendant may appeal a custodial sentence above the

 9   statutory maximum term;               and (ii)   Defendant may collaterally attack the

10   conviction or sentence on the basis that Defendant received ineffective

11   assistance of counsel. If Defendant appeals, the Government may support

12   on appeal the sentence or restitution order actually imposed.

13                                                     XII

14                                    BREACH OF THE PLEA AGREEMENT

15           Defendant and Defendant's attorney know the terms of this agreement

16   and shall raise,            before the sentencing hearing is complete,             any claim

17   that the Government has not complied with this agreement.                          Otherwise,

18   such claims shall be deemed waived                     (that is,   deliberately not raised

19   despite awareness that the claim could be raised), cannot later be made

20   to any court,            and if later made to a court,          shall constitute a breach

21   of this agreement.

22           Defendant breaches this agreement if defendant violates or fails

23   to perform any obligation under this agreement. The following are non-

24   exhaustive examples of acts constituting a breach:

25           A.        Failing to plead guilty pursuant to this agreement;

26           B.        Failing to fully accept responsibility                as   established    in
                       Section X, paragraph B, above;
27
             C.        Failing to appear in court;
28
             D.        Attempting to withdraw the plea;
                                                       9                 Def. I n i t i a l s ~
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 1          E.    Failing to abide by any court order related to this case;
 2          F.    Appealing (which occurs if a notice of appeal is filed) or
                  collaterally attacking the conviction or sentence in violation
 3                of Section XI of this plea agreement; or
 4          G.    Engaging in additional criminal conduct                      from   the     time     of
                  arrest until the time of sentencing.
 5

 6          If Defendant breaches this plea agreement,                   Defendant will not be

 7   able to enforce any provisions, and the Government will be relieved of

 8   all    its   obligations      under     this     plea      agreement.     For    example,        the

 9   Government may proceed to sentencing but recommend a different sentence

10   than what it agreed to recommend above.                    Or the Government may pursue

11   any    charges    including     those     that      were     dismissed,     promised       to     be

12   dismissed, or not filed as a result of this agreement (Defendant agrees

13   that   any   statute    of   limitations       relating      to   such    charges   is    tolled

14   indefinitely as of the date all parties have signed this                            agreement;

15   Defendant also waives any double jeopardy defense to such charges).                               In

16   addition, the Government may move to set aside Defendant's guilty plea.

17   Defendant may not withdraw the guilty plea based on the Government's

18   pursuit of remedies for Defendant's breach.

19          Additionally,     if Defendant breaches this plea agreement:                      ( i)    any

20   statements made by Defendant,            under oath,         at the guilty plea hearing

21   (before either a Magistrate Judge or a District Judge);                     (ii) the factual

22   basis statement in Section II.Bin this agreement; and (iii) any evidence

23   derived from such statements,            are admissible against Defendant in any

24   prosecution of,      or any action against,                defendant.     This   includes        the

25   prosecution of the charge(s) that is the subject of this plea agreement

26   or any charge(s)       that the prosecution agreed to dismiss or not file as

27   part of this agreement,         but later pursues because of a breach by the

28   defendant.       Additionally,        Defendant         knowingly,        voluntarily,           and

                                                    10                  Def. Initials         /JZ1>
                                                                              20-CR
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 1   intelligently waives any argument that the statements and any evidence

 2   derived from the statements should be suppressed, cannot be used by the

 3   Government,        or are inadmissible under the United States Constitution,

 4   any statute,        Rule 410 of the Federal Rules of Evidence, Rule ll(f)                    of

 5   the Federal Rules of Criminal Procedure, and any other federal rule.

 6                                             XIII

 7                          CONTENTS AND MODIFICATION OF AGREEMENT

 8         This    plea    agreement    embodies      the   entire    agreement    between     the

 9   parties      and    supersedes    any   other    agreement,      written     or   oral.      No

10   modification of this plea agreement shall be effective unless in writing

11   signed by all parties.

12                                              XIV

13                  DEFENDANT AND COUNSEL FULLY UNDERSTAND AGREEMENT

14         By signing this agreement,          Defendant certifies that defendant has

15   read it   (or that it has been read to defendant in defendant's native

16   language) .    Defendant has discussed the             terms    of this    agreement with

17   defense counsel and fully understands its meaning and effect.

18   //

19   / /

20   II
21   //

22   II
23   II
24   II
25   II
26   II
27   //

28   II

                                                 11                   Def. Initials     dZ.Jf:.
                                                                            20-CR
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 1                                            xv
 2                             DEFENDANT SATISFIED WITH COUNSEL

 3           Defendant   has    consulted   with   counsel   and   is   satisfied   with

 4   counsel's representation. This is Defendant's independent opinion, and

 5   Defendant's counsel did not advise Defendant about what to say in this

 6   regard.

 7                                             Respectfully Submitted,
 8                                             ROBERTS. BREWER, JR.
                                               United States Attorney
 9

10
        02/26/21
11   DATED                                     OWEN ROTH
                                               Assistant U.S. Attorney
12

13
        2/26/2021
14   DATED                                     JOANNA MARTIN
                                               Federal Defenders of San Diego
15                                             Defense Counsel
16
     IN ADDITION TO THE FOREGOING PROVISIONS TO WHICH I AGREE, I SWEAR UNDER
17   PENALTY OF PERJURY THAT THE FACTS IN THE "FACTUAL BASIS" PARAGRAPH ABOVE
     ARE TRUE.
18


     DATED
20                                                  dant
21
     Approved by:
22

23

24   VICTOR P. WHITE
     Assistant U.S. Attorney
25

26   Rev. 09/10/2019

27

28

                                              12              Def. I n i t i a l s ~
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